                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  ANDREW JOSTEN LOVINGOOD,                         )
                                                   )
                        Plaintiff,                 )
                                                   )
  v.                                               )         No. 3:19-CV-00009-JRG-HBG
                                                   )
  MONROE COUNTY, TENNESSEE,                        )
  DERRICK GRAVES, and                              )
  BILL JOHNSON,                                    )
                                                   )
                        Defendants.                )

                                      SCHEDULING ORDER

        This case is set for a JURY TRIAL on Tuesday, March 16, 2021, at 9:00 a.m., at the

 United States District Courthouse, 4th Floor Courtroom, 220 West Depot Street, Greeneville,

 Tennessee. It is ORDERED that, unless otherwise directed by the Court, the following shall

 govern in this case:

        1.      All discovery methods listed in Rule 26(a), Federal Rules of Civil Procedure, shall

 be completed by March 2, 2020. This shall include all motions relating to discovery.

        2.      All motions, including motions to dismiss and/or for summary judgment, shall be

 filed by July 13, 2020. Responses shall be filed in accordance with Local Rule 7.1, EDTN.

        3.      Plaintiff shall have up to and including August 31, 2020, to file with the Clerk of

 Court a statement entitled “Pretrial Narrative Statement,” if he wishes to amend or modify the one

 he has already filed with the Court. The Pretrial Narrative Statement shall contain:

        (a)     A brief general statement of the case, including the manner by which each

                defendant allegedly violated Plaintiff’s constitutional rights;




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           (b)      A brief narrative written statement of the facts that will be offered by oral

                    or documentary evidence at trial;

           (c)      A list of all exhibits to be offered into evidence at the trial of the case;

           (d)      A list of the names and addresses of all witnesses that Plaintiff intends to

                    call; 1

           (e)      A brief summary of the anticipated testimony of each witness named in (d);

                    and

           (f)      Whether there was a conviction in connection with this case.

 Plaintiff shall serve a copy of the Pretrial Narrative Statement in accordance with paragraph 7

 below.

           4.       On or before October 19, 2020, Defendants shall file with the Clerk of Court and

 serve a copy upon Plaintiff, a “Pretrial Narrative Statement,” entitled as such, which shall contain

 the information set out in paragraph 3(a) through (e) above.

           5.       Failure of the parties to disclose fully in the Pretrial Narrative Statement the

 substance of the evidence to be offered at trial will result in the exclusion of that evidence at trial.

 The only exception will be (1) matters which the Court determines were not discoverable prior to

 the discovery completion date hereinbefore set out, (2) privileged matters, and (3) matters to be

 used solely for impeachment purposes.

           6.       If Plaintiff fails to file a Pretrial Narrative Statement as required by paragraph 3 of

 the Scheduling Order, paragraph 4 shall be inoperative, and Defendant(s) shall notify the Court in



     1
         See attached notice.


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 writing of Plaintiff’s failure to comply. Plaintiff’s failure to file a Pretrial Narrative Statement

 will result in dismissal of Plaintiff’s complaint for failure to prosecute and to comply with the

 orders of this Court. Rule 41(b), Federal Rules of Civil Procedure.

         7.      Plaintiff shall serve upon defense counsel a copy of every pleading, motion,

 memorandum or other paper submitted for consideration by the Court, and shall include on the

 original document filed with the Clerk of Court a certificate stating the date that a true and correct

 copy of the pleading, motion, memorandum or other paper was mailed to counsel. All pleadings,

 motions, memoranda or other papers shall be filed with the Clerk and must include a certificate of

 service, or they will be disregarded by the Court.

         8.      If, at any time, Plaintiff’s address changes, Plaintiff must notify the Court within

 fourteen (14) days of his/her new mailing address. Failure to do so will result in the dismissal of

 Plaintiff’s case.

         9.      The Clerk may provide counsel and Plaintiff with a jury list containing names and

 personal information concerning prospective petit jurors (hereafter “the jury list”). Counsel and

 any other person provided with the jury list may not share the jury list or information therein except

 as necessary for purposes of jury selection. Following jury selection, counsel and any other

 person provided the jury list must return to the Clerk the jury list and any copies made from the

 jury list or destroy them.

         So ordered.

         ENTER:

                                                       s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE



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                                   United States District Court
                                   Eastern District of Tennessee

                           Notice Regarding Issuance of Civil Subpoenas

 If you ask that subpoenas be issued in your pending civil lawsuit, please pay close attention to the
 following:

 YOU are responsible for serving any subpoenas you believe are necessary. The district court
 clerk will issue to you, upon request, the blank subpoenas which you must fill out and then have
 served upon the witness(es) you want subpoenaed.

 A subpoena may be served by the United States Marshal, or his authorized deputy, or by any other
 person who is not a party in the action and is not less than 18 years of age. Service of a subpoena
 upon a person named therein shall be made by delivering a copy thereof to such person and by
 tendering to that person the fees for one day’s attendance and the mileage allowed by law. Federal
 Rules of Civil Procedure 45(c).

 If you are indigent and cannot afford to pay for service of the subpoenas, you must file a motion
 asking the Court to order the subpoenas served. In that motion, you must tell the Court why the
 witness(es) is (are) importance to your case.

 The per day attendance fee is now $40.00 per person, and mileage is .54 cents per mile. 28 U.S.C.
 § 1821(c)(2). You are advised that you are responsible for payment of the witness fee; the Court
 will NOT pay these fees. See Johnson v. Hubbard, 698 F.2d 286, 289–90 (6th Cir.), cert. denied,
 464 U.S. 917 (1983).

 You are also advised that a witness does not have to obey a subpoena unless it is accompanied by
 the first day's attendance fee and travel expenses allowed by law. 28 U.S.C. § 1821; Fed. R. Civ.
 P. 45(c).

 If a witness is a prisoner, you MUST file a motion asking the Court to issue a writ of habeas corpus
 ad testificandum for that person. In the motion, you must tell the Court why the witness(es) is(are)
 important to your case. When you file your motion, PLEASE state that person’s FULL NAME,
 PLACE OF INCARCERATION, AND PRISONER NUMBER. If you cannot provided the
 needed information, the state corrections department cannot find that person and cannot produce
 him or her for your trial. It is up to you to provide the Court with this information.




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